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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS


ANDREW CORZO, SIA HENRY,
ALEXANDER LEO-GUERRA, MICHAEL
MAERLENDER, BRANDON PIYEVSKY,
BENJAMIN SHUMATE, BRITTANY
TATIANA WEAVER, and CAMERON                   Case No. 1:22-cv-00125
WILLIAMS, individually and on behalf of all
others similarly situated,

              Plaintiffs,                     Hon. Matthew F. Kennelly

                      v.

BROWN UNIVERSITY, CALIFORNIA
INSTITUTE OF TECHNOLOGY,
UNIVERSITY OF CHICAGO, THE TRUSTEES
OF COLUMBIA UNIVERSITY IN THE CITY
OF NEW YORK, CORNELL UNIVERSITY,
TRUSTEES OF DARTMOUTH COLLEGE,
DUKE UNIVERSITY, EMORY UNIVERSITY,
GEORGETOWN UNIVERSITY, THE JOHNS
HOPKINS UNIVERSITY, MASSACHUSETTS
INSTITUTE OF TECHNOLOGY,
NORTHWESTERN UNIVERSITY,
UNIVERSITY OF NOTRE DAME DU LAC,
THE TRUSTEES OF THE UNIVERSITY OF
PENNSYLVANIA, WILLIAM MARSH RICE
UNIVERSITY, VANDERBILT UNIVERSITY,
and YALE UNIVERSITY,

              Defendants.


       JOINT DECLARATION OF ROBERT D. GILBERT, EDWARD NORMAND,
     AND ERIC L. CRAMER IN SUPPORT OF PRELIMINARY APPROVAL OF
  SETTLEMENTS WITH DEFENDANTS TRUSTEES OF DARTMOUTH COLLEGE,
   NORTHWESTERN UNIVERSITY, WILLIAM MARSH RICE UNIVERSITY, AND
VANDERBILT UNIVERSITY, PROVISIONAL CERTIFICATION OF THE PROPOSED
    SETTLEMENT CLASS, APPROVAL OF THE REVISED NOTICE PLAN, AND
APPROVAL OF THE SCHEDULE FOR COMPLETING THE SETTLEMENT PROCESS
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       Pursuant to 28 U.S.C. §1746, we, Eric L. Cramer, Robert D. Gilbert, and Edward

Normand jointly declare:

       1.      We are, respectively, shareholders or partners of the law firms of Berger

Montague PC (“Berger Montague”), Gilbert Litigators and Counselors (“GLC”), and Freedman

Normand Friedland LLP (“FNF”) (together, “Settlement Class Counsel”). We have been actively

involved in investigating, initiating, and prosecuting this matter from the outset. On September 9,

2023, the Court preliminarily approved the Plaintiffs’ proposed class settlement with defendant

University of Chicago. See ECF No. 439 (“University of Chicago Preliminary Approval Order”).

On January 23, 2024, Plaintiffs moved for preliminary approval of settlement agreements with

five Defendants: Brown University (“Brown”); The Trustees of Columbia University in the City

of New York (“Columbia”); Duke University (“Duke”); Emory University (“Emory”); and Yale

University (“Yale”) (these settling defendants collectively, the “Second Tranche Settling

Universities” or “Second Tranche Settling Defendants;” and these settlements, the “Second

Tranche Settlements”). See ECF No. 603. The Court preliminarily approved the Second Tranche

Settlements on February 14, 2024. See ECF No. 614.

       2.      Plaintiffs now seek preliminary approval of four additional executed settlements

with Trustees of Dartmouth College (“Dartmouth”); Northwestern University (“Northwestern”);

William Marsh Rice University (“Rice”); and Vanderbilt University (“Vanderbilt”) (these

settling defendants collectively, the “Third Tranche Settling Universities” or “Third Tranche

Settling Defendants;” and these settlements, the “Third Tranche Settlements”). We are familiar

with all of these proceedings and have personal knowledge of the matters set forth herein. If

called upon and sworn as witnesses, we would be competent to testify thereto.

       3.      For efficiency purposes, Plaintiffs are requesting that the Court authorize a


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consolidated approval process for all settlements reached to date, including: (i) the University of

Chicago Settlement; (ii) the Second Tranche Settlements; and (iii) the Third Tranche Settlements

(collectively, the “Settlements” and “Settling Defendants” or “Settling Universities”).

         4.       Unless otherwise defined herein, all capitalized terms have the same meanings set

forth in the settlement agreements with Third Tranche Settling Defendants (collectively referred

to as the “Settlement Agreements”), which are attached hereto at Exhibits 8-11. Because each

Settlement Agreement is structured with the same format, citations to the Settlement Agreements

will use the singular form. Any citations unique to a specific Settlement Agreement will be

expressly noted.

         5.       We respectfully submit this Declaration in Support of the Motion for Preliminary

Approval of Settlements with Defendants Dartmouth, Northwestern, Rice, and Vanderbilt,

Provisional Certification of the Proposed Settlement Class, Approval of the Revised Notice Plan,

and Approval of the Schedule for Completing the Settlement Process.

         6.       The Third Tranche Settling Universities have agreed to make the following

payments to Plaintiffs and the Settlement Class:

              •   Dartmouth: $33.75 million.

              •   Rice: $33.75 million.

              •   Northwestern: $43.5 million.

              •   Vanderbilt: $55 million.

         7.       These additional settlements collectively amount to $166 million, and with the

Second Tranche Settlements and the University of Chicago Settlement ($118 million), the ten

Settlements total $284 million in aggregate cash payments for the benefit of the Settlement

Class.


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       8.      The Third Tranche Settlement Agreements are substantially similar to the Second

Tranche Settlement Agreements in form and substance—except that the settlement amount in

each of these Agreements exceeds all prior settlement amounts. Settlement Class Counsel

believe these Third Tranche Settlements are fair, reasonable and adequate for the same reasons

articulated in the January 23, 2024 Joint Declaration. ECF No. 603-2. Because Plaintiffs rely on

the same facts to support the motion for preliminary approval of the Third Tranche Settlements,

and to reduce duplication, Settlement Class Counsel adopt and incorporate by reference the

entirety of the January 23, 2024 Joint Declaration, and supplement below to provide additional

information specific to the Third Tranche Settlements.

                           THE THIRD TRANCHE SETTLEMENTS

       9.      Settlement Class Counsel—over the course of several months—pursued,

negotiated, and subsequently executed separate Settlement Agreements with each of the Third

Tranche Settling Defendants. See Exhibits 8-11.

       10.     Each Settlement Agreement with the Third Tranche Settling Defendants provides

for the Third Tranche Settling Defendant to make a cash payment to Plaintiffs and the proposed

Settlement Class (which Class includes approximately 200,000 members), and to provide

continuing discovery obligations. See, e.g., Ex. 8 ¶¶ 7, 20. The amount of each Third Tranche

Settling Defendant’s cash payment is listed above at Paragraph 6. The four Third Tranche

Settlements collectively amount to $166 million. As noted above, all ten Settlements achieved to

date total $284 million in aggregate cash payments for the benefit of the Settlement Class.

       11.     Over a period of roughly 16 weeks, involving extensive arm’s length negotiations,

Plaintiffs reached settlements in principle with the Second and Third Tranche Settling

Defendants, and then formal Settlement Agreements with each. For some of the Third Tranche

Settlements, agreement was achieved with the able assistance of renowned mediator, former U.S.
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District Court Judge Layn Phillips and his colleagues Miles Ruthberg and Clay Cogman at

Phillips ADR.

          12.     The Second and Third Tranche Settlement Agreements were not achieved as a

group or all at once, but instead were separately pursued over the course of time, with

negotiations going on simultaneously. Settlement Class Counsel pursued a strategy of increasing

the settlement amounts with each successive agreement or set of agreements to exert pressure on

non-settling Defendants1 to reach agreement imminently or risk having to pay significantly more

by waiting. Across the Second and Third Tranche Settlements, the first settlements reached were

for $18.5 million (Emory and Yale) and the last settlement reached was for $55 million

(Vanderbilt). Further, all of the Third Tranche Settlements include payment amounts that are

greater than the highest payment from a Second Tranche Settling Defendant (i.e., higher than

Columbia and Duke, which were $24 million each).

          13.     Moreover, under the Settlement Agreements, each Third Tranche Settling

Defendant has agreed to engage in certain important continued discovery obligations, tailored to

the needs of the Plaintiffs with regard to each Settling Defendant individually. See Dartmouth

Settlement ¶ 20; Northwestern Settlement ¶ 20; Rice Settlement ¶ 20; Vanderbilt Settlement ¶

20. Like with Second Tranche Settling Universities, Third Tranche Settling Universities agreed

to: (a) work in good faith to resolve unanswered questions regarding their respective data

productions; (b) consider reasonable requests to produce additional relevant information,

including documents, regarding undergraduate financial aid and the 568 Group; (c) facilitate

witness interviews with agreed-upon individuals; and (d) facilitate authentication of certain

documents produced in discovery. Id.



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    “Defendants” is defined in each Settlement Agreement at pp. 1-2.
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       14.     Each Settlement Agreement provides that if more than 650 proposed Class

Members opt-out of the Settlement in a timely fashion, the Third Tranche Settling Defendant

would have the right to terminate the Settlement Agreement. See, e.g., Exhibit 8, ¶ 16.

       15.     The Custodian/Escrow Agreement for Third Tranche of Settlements (“Feb. 21, 2024

Escrow Agreement”) is attached hereto as Exhibit 12. Plaintiffs request that Huntington Bank be

appointed as Escrow Agent for the Third Tranche Settlements. The Court previously approved

Huntington Bank as the Escrow Agent for the prior Settlements. See University of Chicago

Preliminary Approval Order ¶ 9 (ECF No. 439); Second Tranche Settlements Preliminary

Approval Order ¶ 11 (ECF No. 614).

       16.     We know of no separate agreements or conflicts that would affect the settlement

amounts, the eligibility of Settlement Class Members to participate in the Settlements, or the

treatment of Settlement Class Members’ claims.

       CONSOLIDATED NOTICE AND ADMINISTRATION OF ALL SETTLEMENTS

       17.     Settlement Class Counsel propose a consolidated notice program for the

Settlements. Under a consolidated approach, one schedule will be used to manage the notice and

settlement administration steps through final approval and the distribution of the net settlement

funds for the University of Chicago Settlement, the Second Tranche Settlements, and the Third

Tranche Settlements. This approach will be efficient and straightforward for Settlement Class

members.

       18.     Plaintiffs propose that notice to the Settlement Class proceed pursuant to the

Revised Notice Plan (ECF No. 603-10), but using the proposed amended notices attached to the

Declaration of Steven Weisbrot, Esq. of Angeion Group LLC re Amending the Proposed

Revised Notice Plan for the Third Tranche Settlements (“Feb. 20, 2024 Weisbrot Decl.”), at Exs.


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A & B. The amended summary and long-form class notices are identical to the versions

submitted with the Revised Notice Plan (filed with the Second Tranche Settlements), except for

identifying the Third Tranche Settlements and their relevant details. Compare ECF No. 603-11

(Revised Summary Notice) & ECF No. 603-12 (Revised Long-Form Notice) with Feb. 20, 2024

Weisbrot Decl. Exs. A (Amended Summary Notice) & B (Amended Long-Form Notice).

       19.     For a consolidated notice program to proceed efficiently and without confusing

Class members, Plaintiffs request two additional changes: (i) all Settlements will follow the

schedule set forth in the preliminary approval order for the Third Tranche Settlements; and (ii)

the end of the Class Period for the proposed Settlement Class for the Second Tranche

Settlements and the University of Chicago Settlement shall be the date of preliminary approval

for the Third Tranche Settlements (i.e., setting the same Class Period for the Settlement Class

across all Settlements).


Dated: February 23, 2024

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

                                                         /s/ Robert D. Gilbert
                                                         Robert D. Gilbert
                                                         GILBERT LITIGATORS &
                                                          COUNSELORS
                                                         11 Broadway, Suite 615 New York, NY
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      I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

                                                        s/ Edward Normand
                                                        Edward Normand (pro hac vice)
                                                        FREEDMAN NORMAND
                                                          FRIEDLAND LLP
                                                        99 Park Ave., 1910 New York, NY
                                                        10016 Tel: (646) 350-0527
                                                        ted@fnf.law


      I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.

                                                        /s/ Eric L. Cramer
                                                        Eric L. Cramer (pro hac vice)
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